            Case 1:18-cr-00135-DAD-BAM Document 53 Filed 01/09/19 Page 1 of 2


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 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                       ) Case No.: 18-CR-00135 DAD-BAM
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                  Plaintiff,                         ) DEFENDANT’S REQUEST AND
                                                       ) WAIVER OF APPEARANCE; ORDER
12          vs.                                        )
                                                       )
13   NAZEM AHMED ALNAJAR,                              )
                                                       )
14                  Defendant                          )
15          Defendant, NAZEM AHMED ALNAJAR , hereby waives his appearance in person in
16   open court upon the Status Conference set for Monday, January 14, 2019 in Courtroom 8 of the
17   above entitled court. Defendant hereby requests the court to proceed in his absence and agrees
18   that his interest will be deemed represented at said hearing by the presence of his attorney,
19   MONICA L. BERMUDEZ. Defendant further agrees to be present in person in court at all
20   future hearing dates set by the court including the dates for jury trial.
21

22   Date: January 8, 2019                                          /s/Nazem Ahamed Alnajar          ___
23
                                                                    Nazem Ahmed Alnajar

24

25
     Date: January 8, 2019                                          /s/Monica L. Bermudez____ ___
                                                                    MONICA L. BERMUEZ
                                                                    Attorney for Defendant



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           Case 1:18-cr-00135-DAD-BAM Document 53 Filed 01/09/19 Page 2 of 2


 1                                              ORDER

 2          Good cause appearing.

 3          IT IS HEARBY ORDERED that defendant NAZEM AHMED ALNAJAR is hereby

 4   excused from appearing at this court hearing scheduled for January 14, 2019.

 5
     IT IS SO ORDERED.
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 7      Dated:    January 9, 2019                           /s/ Barbara A. McAuliffe   _
                                                        UNITED STATES MAGISTRATE JUDGE
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